       Case 1:10-cr-00285-JLT Document 118 Filed 06/25/14 Page 1 of 2


1    HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
2    ERIC V. KERSTEN, Bar #226429
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    RUDOLPH BUENDIA, III
7

8                             IN THE UNITED STATES DISTRICT COURT
9
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                     )      Case No. 1:10-cr-00285 LJO
12                                                 )
                            Plaintiff,             )      STIPULATION TO EXTEND
13                  v.                             )      SURRENDER DATE;
                                                   )      ORDER
14   RUDOLPH BUENDIA, III,                         )
                                                   )      JUDGE: Hon. Lawrence J. O’Neill
15                          Defendant.             )
                                                   )
16                                                 )
17
             IT IS HEREBY STIPULATED by the parties hereto, through their respective counsel,
18
     that the surrender date for defendant Rudolph Buendia, III, to the United States Bureau of
19
     Prisons, to commence service of his term of incarceration, may be extended to no later than 2:00
20
     p.m., on Friday, August 8, 2014. The current surrender date for Mr. Buendia is Friday, June 27,
21
     2014.
22
             Mr. Buendia is requesting that his surrender be continued because the restitution hearing
23

24
     in this matter, which was originally scheduled for June 16, 2014, has been continued to August 4,

25
     2014. Also, the step-mother of Mr. Buendia's wife is suffering from cancer and in hospice. The

26   family has been advised that she is will likely pass within about three weeks. The requested

27   continuance will allow Mr. Buendia to remain out of custody through the restitution hearing, and

28   it will also allow him to remain out of custody to provide support to his family during this
       Case 1:10-cr-00285-JLT Document 118 Filed 06/25/14 Page 2 of 2


1    difficult time. The government does not object to this request.
2

3    Respectfully submitted,
                                                           BENJAMIN B. WAGNER
4
                                                           United States Attorney
5
                                                            /s/ Samuel Wong
6    DATED: June 24, 2014                          By      /s/ Melanie L. Alsworth
                                                           SAMUEL WONG
7                                                          MELANIE L. ALSWORTH
8
                                                           Assistant United States Attorneys
                                                           Attorney for Plaintiff
9

10
                                                           HEATHER E. WILLIAMS
11
                                                           Federal Defender
12

13   DATED: June 24, 2014                                   /s/ Eric V. Kersten
                                                           ERIC V. KERSTEN
14                                                         Assistant Federal Defender
                                                           Attorney for Defendant
15
                                                           Rudolph Buendia, III
16

17

18
                                                ORDER
19

20
             GOOD CAUSE SHOWN, the surrender date for defendant Rudolph Buendia, III to the
21
     United States Bureau of Prisons, for commencement of service of his term of incarceration is
22
     hereby extended from June 27, 2014, to no later than 2:00 p.m. on Friday, August 8, 2014.
23
             IT IS SO ORDERED.
24
             DATED: June 25, 2014
25
                                                                   /s/ Lawrence J. O’Neill
26                                                                LAWRENCE J. O’NEILL
                                                                  United States District Court Judge
27

28

     Buendia: Stipulation to Extend
     Surrender Date; Order
                                                     -2-
